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UNITED STATES FEDERAL COURT

DISTRICT OF MAINE
DAVID E. MURRAY, )
Plaintiff, §
v. § Case No. 2:15-cv-00484-DBH
WAL-MART STORES, INC. et al., §
Defendants. §

PLAINTIFFS’ RESPONSE TO AND OBIECTION TO DEFENDANT’S SUMMARY
IUDGEMENT PRE-FILING MEMORANDUM (ECF NO. 1840)

David E. Murray, Plaintiff (Pro Se), (”Murray” or ”Plainijff”) respectftu submits this
response to and Objection to Defendant's Summary judgement Pre-Filing Memorandum (ECF

No. 180).

(1) BASIS: The Plaintiff intends to Oppose the Defendants move for Summary ]udgement
on all counts. The Plaintiff Will include facts1 from, but not limited to, the Original
complaint including Maine Human Rights Commission Charge of Discrimination,
MHRC Commissioners Request for Information from Complainant, Wal-Mart's
Staternent of Position2 and RFI to MHRC, MHRC Amended complaint The Plaintiff’s
First Amended Complaint and the Plaintiff's Second Amended Complaint. The Plaintiff
completed a Wal-Mart ADA Accommodation Form and submitted a copy to his

Supervisor and the ADA Office, additional disabilities Were communicated to Wal-Mart.

 

1 To include facts of Plaintiff's internal reports (P|aintiff was engaged in protected activity, protected class) to
lmmediate Supervisor (an Officer of the Company), additional Officers of Wal-Mart Stores |nc., Wal-Mart Legal,
Wal-Mart Ethics and Wal-Mart Executive Open Door that includes but is not limited to retaliation, discrimination,
hostile work environment, and harassment.

2 Wal-Mart's Statement of Position and response for Request for lnformation (RF|), All included within their
0ctober 24, 2014 response to Amy Sneirson (MHRC).

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(2) Additional Legal Issues that Will require Summary ]udgement,

A. Plaintiff can establish Pretext or a Casual l.ink Necessary to Establish a

Dispute of Fact with respect to the Plaintiff’s Claims of Retaliation:

The Plaintiff made good-faith internal complaint(s) in 2013 that Were not promptly
investigated Walmart immediately violated their own Open-Door Policy and Statement of
Ethics by sharing the Plaintiff’s complaint With Phil Morris Divisional HR compromising the
integrity of the investigation from the onset. Walmart had contradicting statements about when
they started the investigation allowing several months to pass before actually starting the
investigation Walmart took approximately five months to investigate and failed to complete a

Redbook Investigation as stated to the Plaintiff that they would conduct.

The Plaintiff reported false allegations made by Alan Heinbaugh on a conference call

regarding clearance / deleted merchandise ownership to officers of the company in ]une 2014.

The Plaintiff was required to attend a mandatory meeting on September 5, 2014 with outside
counsel Harris Beach attorneys Kelly S. Foss and Pietra Lettiera and an ethics investigator Matt
Yoes. Wal-Mart was aware the Plaintiff was represented by counsel and failed to memorialize
any proper ”Upjohn Warning". In addition, the Plaintiff’s supervisor, Paul Busby, his Regional
Human Resource Manager, David Minsky were informed by Alan Heinbaugh in an email
produced during discovery making false allegations against Plaintiff in February 2014 while

being under an ethics investigation initiated by the Plaintiff in September 2013.

The Plaintiff reported an unusual traumatic work event involving the death of a customer in
October 2014 to his supervisor Paul Busby and the concerns surrounding the incident and

mailed a copy of the video. The impact of this traumatic work event impacted the Plaintiff's

health including a diagnosis of PTSD.

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The Plaintiff made good faith complaints to Officers of the Company including Public Safety.
There was no investigation into the concerns or corrective action taken. In analyzing a WPA
claim the burden at the prima facie stage is ”light and ”easy to meet.” The record would allow
for an inference that the Plaintiff engaged in protected activity, see Brady z). Cumberland County
126 A. 3d 1145, 1150 (Me. 2015 ). There were multiple adverse employment action(s) that Wal-
Mart took against the Plaintiff including his constructive discharge in April 2015,
communicating and the actual posting of the Plaintiff's position Without an ADA
Accommodation discussion. The Plaintiff's termination of employment on October 4, 2016 by
Larry Hosey (on his 23-year Work anniversary) without an investigation, not citing a violation
of policy in the termination email, and also stating that the recordings had just recently come to
their attention, but the fact is Wal-Mart received them in discovery on ]une 3, 2016. Wal-Mart
failed to respond to submitted unpaid Leave of absence requests by the Plaintiff and former
counsel. Phil Morris testified at the April 27, 2017 30(b)(6) deposition he terminated the Plaintiff
on October 5, 2016 in his sworn interrogatory answers. There are genuine issues as to who the
decision maker was, like changing or shifting reasons to justify the termination allows for the
inference of discriminatory intent, the same is true with the changing decision makers. see Staub
z). Proctor Hospital 562 U.S. 411, 131 S.Ct. 1186 (2011) under the Cat's Paw Theory, also see
Burlington N. 3 Santa Fe Ry. Co. v. White S.Ct. 2405, 57 (2006), also Under the False Claims Act 31
U.S.C. § 3730 (h).

Wal-Mart received updated copies of the Plaintiff's Medical Records in September 2016
prior to completing the deposition of Dr. Steven Edwards, DO and Michelle Bolen, LCSW, in
those records the Defendant received the Progress Notes and Diagnoses information from Dr.
Gaston Baslet, MD, Neuropsychiatrist at Brigham and Women’s Hospital in Boston, MA in
diagnosing the Plaintiff in reference to the events at his work that included, ”a young woman
was struck and killed by a truck in a parking lot in one of the Walmart locations he is
responsible for, he attributes this event to an environment of negligence in the Company, he

described watching the video repeatedly, felt that her death could have been prevented.” Dr.

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Baslet diagnosed the Plaintiff with Major Depressive Disorder, PTSD and R/ O Somatic
Symptom Disorder (w/ pain) summarized that, ”Murray is suffering from a complex array of
debilitating psychiatric and neurological symptoms, likely all interrelated and stemming from
several years of a hostile and traumatizing work environment.” The Plaintiff then deposed Paul
Busby on September 29, 2016 Who confirmed his continued communication with Larry Hosey,
Wal-Mart Legal Who sent the Plaintiff his termination letter on October 4, 2016, whom Phil
Morris states that during his April 27, 2017 30(b)(6) deposition that he had conversations with
Mr. Hosey3. The proximity of the employees' protected activity and the termination is sufficient

to satisfy the casual link element

B. The Plaintiff can Establish That He Was Subjected to A Hostile Work

Environment:

The Plaintiff will utilize all documents provided from the investigation completed by
Ethics Investigator, Brandie Patton and her failure to interview key female witnesses as well as
the Depositions of Patton 30(b)(6), Busby 30(b)(6), Robinson and Heinbaugh Discovery
Documents, Audio(s) and Video(s) that both the Defendant and the Plaintiff have to utilize for
Summary ]udgement and for Trial that will prove the Hostile Work Environment that the

Plaintiff was subjected to, also see Harris v. I-`orklift Systems, Inc., 510 U.S. 1 7, 23 (1993).

C. The Plaintiff can establish a claim of Disability Discrimination:
The Defendant Was aware of Plaintiff's disabilities
D. The Plaintiff can establish Wal-Mart Violated Maine Cessation Law 26
M.R.S. § 626:

As documented in the Second Amended Complaint (”SAC”), the Defendant continues to
attempt to hide behind Fed. R. Evid. 408, in their continued attempt to shield more violations of

the law by Wal-Mart, that have continued to impact the Plaintiff since his October 4, 2016

 

3 Paul Busby also continued to communicate with Larry Hosey in reference to the Plaintiff's case per Busby's
testimony during his September 29, 2016 Deposition.

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termination Wal-Mart has not paid the Plaintiff in full to date, the interest on the full amount
should be accruing from the October 4, 2016 termination date to include monies and expenses
the Plaintiff has spent on counsel to assist him, as documented in Attorney's Billing and
Expenses, up to the point he became Pro Se and include all penalties owed as per the law. Wal-
Mart went in and out of the Plaintiff's Personal Checking Account on ]anuary 26, 2017
depositing monies and withdrawing monies without the Plaintiff's Authorization more than 3
months after being terminated by Larry Hosey via email. The accounting that the Defendant's
counsel continues to submit to the Plaintiff does not have an actual worksheet as to the specifics
to the entire breakdown of all monies nor has the Defendant's counsel provided the Plaintiff
with specific answers as to the Defendant accessing the Plaintiff's Personal Account without
any authorization The Defendant continues to expect the Plaintiff to just accept their excuses
for once again, violating the Law and have now attempted to state that Wal-Mart has paid the

Plaintiff more than he was entitled, which is not a true statement

E. The Plaintiff's entitlement for Punitive Damages:

The Plaintiff suffered an adverse employment action, that includes the continued
retaliation, discrimination, and hostile work environment that began his complaint(s) to Wal-
Mart Ethics in September of 2013. ”The court consider the entire work environment claim, including
the behavior outside the statutory time period .. as long as the untimely incidents represent an ongoing

unlawful employment practice”. See, National Railroad Passenger Corp. o. Morgan, 112 S. Ct. 2061
(2002)

(3) ESTIMATED MEMORANDUM LENGTH: Not to exceed 45 pages. Based upon the
complexity of the Plaintiff's case combined with the totality of evidence It is the

Plaintiff's Good Faith belief that he will need more than the normal 20 pages.

(4) ESTIMATED FACTUAL STATEMNT LENGTH: N ot to exceed 500 statements

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(5) ESTIMATED RECORD: The Plaintiff intends to include: (1) transcripts of, portions of,
or entire recordings to support the Plaintiff's case; (2) portions or entire video
recordings to support Plaintiff's case; (3) Portions of up to nine depositions, including
the three 30(b)(6) of the Defendants, associated deposition exhibits; (4) Up to 10 to 15
Affidavits with exhibits to supplement the record; (5) Portions of Wal-Mart Discovery
Document(s) including Ethics Investigation(s), Text message(s), Email(s) and other
documents pertinent to proving Plaintiff's case (6) Portions of the Plaintiff's Discovery
Document(s) that includes Email(s), and all other documents and materials pertinent to
proving the Plaintiff's case. (7) Portions of case material(s) and all other documents
pertinent to supporting the Plaintiff's case in reference to and involving Wal-Mart Stores

L.P. East and Wal-Mart Stores, Inc. The Plaintiff estimates the record will not exceed

1,500 pages.
Respectfully submitted,
Dated: December 7, 2018 [s[ David E. Murray
David E. Murray, Plaintiff, Pro Se.
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CERTIFICATE OF SERVICE

The undersigned certifies that on the date indicated below the foregoing document was
filed electronically with the Clerk of Court using the CM/ ECF system; that the same will be sent
electronically to the following counsel at Bernstein Shur, Sawyer and Nelson P.A., counsel for

the Defendant:

Ronald W. Schneider, ]r. rschi.ieider@bersteinshur.com

Eben M. Albert ealbert@bernstemshur.com

Dated: December 7, 2018

[s[ David E. Murrai(
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